     Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 1 of 17 PageID #:1



                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

HELPING HAND CAREGIVERS LTD., an                  )
Illinois corporation, individually and as the     )
representative of a class of similarly-situated   )
persons,                                          )
                                                  )
                           Plaintiff,             )
                                                  )
                                                       No.
             v.                                   )
                                                  )
MEDCARE STAFFING INC., THOMAS                     )
HARBIN, and JOHN DOES 1-12,                       )
                                                  )
                           Defendants.            )
                                                  )

                            CLASS ACTION COMPLAINT

      Plaintiff, Helping Hand Caregivers LTD. (“Plaintiff”), brings this action on

behalf of itself and all other persons similarly-situated, through its attorneys, and

except as to those allegations pertaining to Plaintiff or its attorneys, which

allegations are based upon personal knowledge, alleges the following upon

information and belief against Defendants, Medcare Staffing Inc. (“Medcare”),

Thomas Harbin (“Harbin”), and JOHN DOES 1-12, (collectively “Defendants”):

                            PRELIMINARY STATEMENT

      1.     This case challenges Defendants’ practice of faxing unsolicited

advertisements, in violation of federal law.

      2.     Defendants sent advertisements containing job vacancies in an

attempt to recruit job applicants for their clients.
     Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 2 of 17 PageID #:2



       3.     The federal Telephone Consumer Protection Act, 47 USC § 227 (the

“TCPA”), prohibits a person or entity from faxing or having an agent fax

advertisements without the recipient’s prior express invitation or permission (“junk

faxes” or “unsolicited faxes”).

       4.     The TCPA mandates that if a person or entity sends a fax

advertisement it must always include a very specific opt-out notice that is clearly

and conspicuously included on the first page of the advertisement. See 47 U.S.C. §

227 (b) (2) (D); and 47 C.F.R. § 64.1200 (a) (4) (iii).

       5.     The TCPA provides a private right of action and provides statutory

damages of $500 – $1,500 per violation. If the Court finds the advertisements were

sent knowingly or willfully, then the Court can treble the damages.

       6.     Unsolicited faxes damage their recipients. A junk fax recipient loses

the use of its fax machine, paper, and ink toner. An unsolicited fax wastes the

recipient’s valuable time that would have been spent on something else. A junk fax

interrupts the recipient’s privacy. Unsolicited faxes tie up the telephone lines,

prevent fax machines from receiving authorized faxes, prevent their use for

authorized outgoing faxes, cause undue wear and tear on the recipients’ fax

machines, and require additional labor to attempt to discern the source and purpose

of the unsolicited message.

       7.     On behalf of itself and all others similarly situated, Plaintiff brings

this case as a class action asserting claims against Defendants under the TCPA, the




                                             2
     Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 3 of 17 PageID #:3



common law of conversion, and the Illinois Consumer Fraud and Deceptive

Business Practices Act.

      8.     Plaintiff seeks an award of statutory damages for each violation of the

TCPA.

                     PARTIES, JURISDICTION, AND VENUE

      9.     Plaintiff is an Illinois corporation with its principal place of business in

Lindenhurst, Illinois.

      10.    Defendant Medcare Staffing Inc. is a Georgia corporation. On

information and belief, Medcare has its principal place of business in Flowery

Branch, Georgia.

      11.    On information and belief, Defendant Thomas Harbin resides in

Flowery Branch, Georgia.

      12.    Plaintiff included Defendants John Does 1-12 as it is not clear whether

any entities or persons other than Medcare or Harbin actively participated in the

transmission of the subject fax advertisements, or benefitted from the

transmissions.

      13.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and

47 U.S.C. § 227.

      14.    Venue is proper in the Northern District of Illinois because Defendants

committed a statutory tort within this district and a significant portion of the

events took place here.




                                           3
     Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 4 of 17 PageID #:4



                                        FACTS

      15.    On July 10, 2014, Defendants sent, or caused to be sent, one

unsolicited fax advertisement to Plaintiff. Exhibit A is a copy of the subject fax

advertisement.

      16.    The subject fax advertises the services of Defendant Medcare. Id.

Exhibit A contains a one-page fax advertisement that attempts to recruit healthcare

professionals to work at their clients’ locations. The fax advertisements contained in

Exhibit A are a ruse to get the recipient to use Defendants’ services. Id. Defendants

sent, or caused this unsolicited fax advertisement to be sent, to Plaintiff and a class

of similarly-situated persons.

      17.    Defendant Harbin is the Chief Executive Officer and registered agent

of Defendant Medcare. Upon information and belief, Defendant Harbin actively

participated in the scheme to send the subject unsolicited fax advertisement to

persons without first obtaining their express permission in that he drafted the

subject fax, actively participated in determining where the subject fax would go, and

actively participated in transmitting the subject fax.

      18.    Plaintiff did not invite or give permission to anyone to send the fax

contained in Exhibit A to it.

      19.    The fax contained within Exhibit A does not contain a clear and

conspicuous opt-out notice. Instead, Defendants included an opt-out in small print

at the very bottom of the page that was buried beneath Defendants’ own contact




                                           4
     Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 5 of 17 PageID #:5



information. Id. Additionally, the opt-out notice did not contain a domestic toll free

facsimile number as required by the TCPA. Id.

      20.    On the face of the subject fax, it is not understood whether the

telephone number identified in the notice was available to Plaintiff to make an opt-

out request 24 hours a day, 7 days a week, as required by the TCPA. Exhibit A.

      21.    On information and belief, Defendants sent the same facsimile to

Plaintiff and more than 39 other recipients without first receiving the recipients’

express permission or invitation. This allegation is based, in part, on the fact that

Plaintiff never gave permission to anyone to send the subject fax advertisement to

it, that Plaintiff never conducted business with Defendants, that Defendants are

located in Georgia, and that sending advertisements by fax is a very cheap way to

reach a wide audience.

      22.    There is no reasonable means for Plaintiff (or any other putative Class

member) to avoid receiving illegal faxes. Fax machines are left on and ready to

receive the urgent communications their owners desire to receive.

                   CLASS REPRESENTATION ALLEGATIONS

      23.    Plaintiff brings this action as a class action on behalf of itself and all

others similarly situated as members of the Class, initially defined as follows:

      All persons who were sent one or more telephone facsimile messages
      on or after four years prior to the filing of this action, that advertised
      the commercial availability of property, goods, or services offered by
      “Medcare Staffing Inc.”, that did not contain an opt-out notice that
      complied with federal law.

      24.    Excluded from the Class are Defendants, any entity in which

Defendants have a controlling interest, any officers or directors of Defendants, the

                                           5
       Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 6 of 17 PageID #:6



legal representatives, heirs, successors, and assigns of Defendants, and any Judge

assigned to this action, and his or her family.

        25.   This action is brought and may properly be maintained as a class

action pursuant to Fed. R. Civ. P. 23. This action satisfies the numerosity,

commonality, typicality, adequacy requirements under Rule 23 (a). Additionally,

prosecution of Plaintiff’s claims separately from the putative Class’s claims would

create a risk of inconsistent or varying adjudications under Rule 23 (b) (1) (A).

Furthermore, the questions of law or fact that are common in this action

predominate over any individual questions of law or fact making class

representation the superior method to adjudicate this controversy under Rule 23 (b)

(3).

        26.   Numerosity/Impracticality of Joinder: On information and belief, the

Class consists of more than thirty-nine people and, thus, is so numerous that

joinder of all members is impracticable. The precise number of Class members and

their addresses are unknown to Plaintiff, but can be obtained from Defendants’

records or the records of third parties.

        27.   Commonality and Predominance: There is a well-defined community

of interest and common questions of law and fact that predominate over any

questions affecting only individual members of the Class. These common legal and

factual questions, which do not vary from one Class member to another, and which

may be determined without reference to the individual circumstances of any Class

member, include, but are not limited to the following:



                                           6
Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 7 of 17 PageID #:7



       a.      Whether Defendants sent unsolicited fax advertisements;

       b.      Whether the fax contained in Exhibit A advertised the

 commercial availability of property, goods or services;

       c.      The manner and method Defendants used to compile or obtain

 the lists of fax numbers to which they sent the fax contained in Exhibit A and

 other unsolicited fax advertisements;

       d.      Whether Defendants faxed advertisements without first

 obtaining the recipients’ express permission or invitation;

       e.      Whether Defendants’ opt-out notice violated the TCPA;

       f.      Whether Defendants’ opt-out notice was clear and conspicuous;

       g.      Whether Defendants’ opt-out notice contained toll-free telephone

 and facsimile numbers that were available to Plaintiff and the other Class

 members 24 hours a day, 7 days a week;

       h.      Whether each Defendant is, respectively, directly or vicariously

 liable for violating the TCPA;

       i.      Whether Plaintiff and the other Class members are entitled to

 statutory damages;

       j.      Whether Defendants should be enjoined from faxing

 advertisements in the future;

       k.      Whether the Court should award trebled damages;

       l.      Whether Defendant’s conduct as alleged herein constituted

 conversion;



                                     7
     Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 8 of 17 PageID #:8



             m.     Whether Defendants’ conduct as alleged herein was unfair

      under ICFA; and

             n.     Whether Defendants’ conduct as alleged herein constituted a

      violation of ICFA.

      28.    Typicality of claims: Plaintiff’s claims are typical of the claims of the

Class because Plaintiff and all Class members were injured by the same wrongful

practices. Plaintiff and the members of the Class are all individuals who received

unsolicited fax advertisements from Defendants that also did not contain opt-out

notices pursuant to the TCPA. Under the facts of this case, because the focus is

upon Defendants’ conduct, if Plaintiff prevails on its claims, then the putative Class

members must necessarily prevail as well.

      29.    Adequacy of Representation: Plaintiff is an adequate representative of

the Class because its interests do not conflict with the interest of the members of

the Class it seeks to represent. Plaintiff has retained counsel competent and

experienced in complex class action litigation and Plaintiff intends to vigorously

prosecute this action. The interest of members of the Class will be fairly and

adequately protected by Plaintiff and its counsel.

      30.    Prosecution of Separate Claims Would Yield Inconsistent Results:

Even though the questions of fact and law in this action are predominately common

to Plaintiff and the putative Class members, separate adjudication of each Class

member’s claims would yield inconsistent and varying adjudications. Such

inconsistent rulings would create incompatible standards for Defendants to operate



                                           8
     Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 9 of 17 PageID #:9



under if/when Class members bring additional lawsuits concerning the same

unsolicited fax advertisements of if Defendants choose to advertise by fax again in

the future.

       31.      Class Action is the Superior Method to Adjudicate the Common

Questions of Law and Fact that Predominate: A class action is superior to other

available methods for the fair and efficient adjudication of this lawsuit, because

individual litigation of the claims of all Class members is economically unfeasible

and procedurally impracticable. The likelihood of individual Class members

prosecuting separate claims is remote, and even if every Class member could afford

individual litigation, the court system would be unduly burdened by individual

litigation of such cases. Plaintiff knows of no difficulty to be encountered in the

management of this action that would preclude its maintenance as a class action.

Relief concerning Plaintiff’s rights under the laws herein alleged and with respect to

the Class would be proper. Plaintiff envisions no difficulty in the management of

this action as a class action.

                               COUNT I
             TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. §227

       32.      Plaintiff incorporates the preceding paragraphs as though fully set

forth herein.

       33.      Plaintiff brings Count I on behalf of itself and a class of similarly

situated persons.




                                              9
    Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 10 of 17 PageID #:10



       34.    The TCPA prohibits the “use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone

facsimile machine….” 47 U.S.C. § 227 (b) (1).

       35.    The TCPA defines “unsolicited advertisement,” as “any material

advertising the commercial availability or quality of any property, goods, or services

which is transmitted to any person without that person’s express invitation or

permission.” 47 U.S.C. § 227 (a) (4).

       36.    The TCPA provides:

                     3.     Private right of action. A person may, if
              otherwise permitted by the laws or rules of court of a
              state, bring in an appropriate court of that state:

                           (A)    An action based on a violation of this
                     subsection or the regulations prescribed under this
                     subsection to enjoin such violation,

                            (B)     An action to recover for actual
                     monetary loss from such a violation, or to receive
                     $500 in damages for each such violation, whichever
                     is greater, or

                            (C)    Both such actions.

       37.    In relevant part, the TCPA states that “[t]he Commission shall

prescribe regulations to implement the requirements of this subsection . . . in

implementing the requirements of this subsection, the Commission shall provide

that a notice contained in an unsolicited advertisement complies with the

requirements under this subparagraph only if . . . (i) the notice is clear and

conspicuous . . .” 47 U.S.C. § 227 (b) (2) (D) (i).




                                            10
    Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 11 of 17 PageID #:11



      38.    The Court, in its discretion, can treble the statutory damages if the

violation was knowing. 47 U.S.C. § 227.

      39.    Defendants violated 47 U.S.C. § 227 et seq. by sending an

advertisement by fax (such as Exhibit A) to Plaintiff and the other Class members

without first obtaining their prior express invitation or permission.

      40.    Defendants violated 47 U.S.C. § 227 et seq. by not providing an opt-out

notice on the fax contained in Exhibit A as required by the TCPA.

      41.    Facsimile advertising imposes burdens on unwilling recipients that are

distinct from the burden imposed by other types of advertising. The con tent of the

required opt-out notice is designed to ensure that the recipients have the necessary

contact information to opt-out of future fax transmissions. If senders do not clearly

and conspicuously provide the opt-out content to the recipients, then the senders

fail to enable the recipients with the appropriate information to stop the burden

imposed by this form of advertisement.

      42.    The TCPA is a strict liability statute and Defendants are liable to

Plaintiff and the other Class members even if their actions were negligent.

      43.    Moreover, Defendants are liable to Plaintiff and the other Class

members under the TCPA for not including an opt-out notice even if Defendants

ultimately prove that they obtained prior express permission to send the

advertisements by fax or prove that Defendants had an established business

relationship with Plaintiff and the other Class members.




                                          11
    Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 12 of 17 PageID #:12



      44.    Each Defendant is liable because, respectively, it sent the fax, caused

the fax to be sent, participated in the activity giving rise to and/or constituting the

violation, the fax was sent on its behalf, and/or under general principles of vicarious

liability applicable under the TCPA, including actual authority, apparent authority

and ratification.

      45.    Defendants knew or should have known that Plaintiff and the other

Class members had not given express invitation or permission for Defendants or

anybody else to fax advertisements about Defendants’ goods, products, or services,

that Plaintiff and the other Class members did not have an established business

relationship with Defendants, that the fax contained in Exhibit A is an

advertisement, and that the fax contained in Exhibit A did not display the opt-out

notice as required by the TCPA.

      46.    Defendants’ actions caused damages to Plaintiff and the other Class

members. Receiving Defendants’ junk fax caused the recipients to lose paper and

toner consumed in the printing of Defendants’ fax. Moreover, the subject fax used

Plaintiff’s and the Class’s fax machines. The subject fax cost Plaintiff time, as

Plaintiff and its employees wasted their time receiving, reviewing and routing

Defendants’ illegal fax. That time otherwise would have been spent on Plaintiff’s

business activities. Defendants’ fax unlawfully interrupted Plaintiff’s and the other

Class members’ privacy interests in being left alone. Finally, the injury and

property damage sustained by Plaintiff and the other Class members from the

sending of Exhibit A occurred outside Defendants’ premises.



                                           12
    Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 13 of 17 PageID #:13



      47.       Even if Defendants did not intend to cause damage to Plaintiff and the

other Class members, did not intend to violate their privacy, and did not intend to

waste the recipients’ valuable time with Defendants’ advertisements, those facts are

irrelevant because the TCPA is a strict liability statute.

      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, demands judgment in its favor and against Defendants, jointly and

severally as follows:

      A.        That the Court adjudge and decree that the present case may be

properly maintained as a class action, appoint Plaintiff as the representative of the

Class, and appoint Plaintiff’s counsel as counsel for the Class;

      B.        That the Court award $500.00 – $1,500.00 in damages for each

violation of the TCPA;

      C.        That the Court enter an injunction prohibiting Defendants from

engaging in the statutory violations at issue in this action; and

      D.        That the Court award costs and such further relief as the Court may

deem just and proper.

                                       COUNT II
                                      CONVERSION

      48.       Plaintiff incorporates paragraphs 1 through 31 as though fully set

forth herein.

      49.       Plaintiff brings Count II on behalf of itself and a class of similarly

situated persons.




                                             13
    Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 14 of 17 PageID #:14



      50.    By sending Plaintiff and the other Class members unsolicited faxes,

Defendants improperly and unlawfully converted their fax machines, toner and

paper to their own use. Defendants also converted Plaintiff’s employees’ time to

their own use.

      51.    Immediately prior to the sending of the unsolicited fax, Plaintiff and

the other Class members owned an unqualified and immediate right to possession

of their fax machines, paper, toner, and employee time.

      52.    By sending the unsolicited faxes, Defendants permanently

misappropriated the Class members’ fax machines, toner, paper, and employee time

to their own use. Such misappropriation was wrongful and without authorization.

      53.    Defendants knew or should have known that its misappropriation of

paper, toner, and employee time was wrongful and without authorization.

      54.    Plaintiff and the other Class members were deprived of the use of their

fax machines, paper, toner, and employee time, which could no longer be used for

any other purpose. Plaintiff and each Class member thereby suffered damages as a

result of their receipt of unsolicited fax advertisements from Defendants.

      55.    Defendants’ unsolicited fax effectively stole Plaintiff’s employees’ time

because persons employed by Plaintiff were involved in receiving, routing, and

reviewing Defendants’ illegal fax. Defendants knew or should have known

employees’ time is valuable to Plaintiff.




                                            14
    Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 15 of 17 PageID #:15



      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, demands judgment in its favor and against Defendants, jointly and

severally as follows:

      A.        That the Court adjudge and decree that the present case may be

properly maintained as a class action, appoint Plaintiff as the representative of the

Class, and appoint Plaintiff’s counsel as counsel for the Class;

      B.        That the Court award appropriate damages;

      C.        That the Court award costs of suit; and

      D.        Awarding such further relief as the Court may deem just and proper.

                          COUNT III
ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                        815 ILCS 505/2

      56.       Plaintiff incorporates paragraphs 1 through 31 as though fully set

forth herein.

      57.       Plaintiff brings Count III on behalf of itself and a class of similarly

situated persons.

      58.       Defendants’ unsolicited fax practice is an unfair practice because it

violates public policy and because it forced Plaintiff and the other Class members to

incur expense without any consideration in return. Defendants’ practice effectively

forced Plaintiff and the other Class members to pay for Defendants’ advertising

campaign.

      59.       Defendants violated the unfairness predicate of the Act by engaging in

an unscrupulous business practice and by violating Illinois statutory public policy,



                                             15
    Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 16 of 17 PageID #:16



which public policy violations in the aggregate caused substantial injury to

hundreds of persons.

      60.    Defendants’ misconduct caused damages to Plaintiff and the other

members of the Class, including the loss of paper, toner, ink, use of their facsimile

machines, and use of their employees’ time.

      61.    Defendants’ actions caused damages to Plaintiff and the other Class

members because their receipt of Defendants’ unsolicited fax advertisement caused

them to lose paper and toner consumed as a result. Defendants’ actions prevented

Plaintiff’s fax machine from being used for Plaintiff’s business purposes during the

time Defendants were using Plaintiff's fax machine for Defendants’ illegal purpose.

Defendants’ actions also cost Plaintiff employee time, as Plaintiff’s employees used

their time receiving, routing, and reviewing Defendants’ illegal fax and that time

otherwise would have been spent on Plaintiff’s business activities.

      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, demands judgment in its favor and against Defendants, as follows:

             A.     That the Court adjudge and decree that the present case may be

      properly maintained as a class action, appoint Plaintiff as the Class

      representative, and appoint Plaintiff’s counsel as counsel for the Class;

             B.     That the Court award damages to Plaintiff and the other Class

      members;

             C.     That the Court award attorneys’ fees and costs; and




                                          16
Case: 1:14-cv-06442 Document #: 1 Filed: 08/20/14 Page 17 of 17 PageID #:17



        D.     That the Court enter an injunction prohibiting Defendants from

  sending unsolicited faxed advertisements to Illinois consumers.



                                         Respectfully submitted,

                                         HELPING HAND CAREGIVERS
                                         LTD., an Illinois corporation,
                                         individually and as the representative
                                         of a class of similarly-situated persons


                                  By:    /s/ James M. Smith
                                         One of its attorneys

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                                    17
